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                                                                                                   CLOSED
                               U.S. District Court
                   Eastern District of New York (Gentral lslip)
             CRIMINAL DOCKET FOR CASE #: 2:17-mj-01093-GRB-1
                               lnternal Use Only

case title: USA v.   Traficante                                     Date Filed: r2l2ol2or7
Other court case number: 17MJ 4159 USDC- Westem        District     Date Terminated:12120/2017
                          of New York


Assigned to: Magistrate Judge
Gary R. Brown


Defendant (1)
Thomas Traficante                       represented   by   Randi L. Chavis
TERMINATED: 12/20/2017                                     Federal Defenders of New   york, Inc.
                                                           TT0FederalPlaza
                                                                       NY 11722
                                                           Central Islip,
                                                           63r-7t2-6500
                                                           Fax: 631-712-6505
                                                           Email : randi-chavis@ fd. org
                                                           LEAD ATTORNEY
                                                           ATTORNEYTO BE NOTICED
                                                           Designation: Public Defender or Community
                                                           Defender Appointrnent


Pending Counts                                             Disnosition
None


Highest Offense Level (9pening)
None


Terminated Counts                                          Disposition
None


Highest Offense Level
(Terminated)
None


Complaints                                                 Disposition
18:2261.F
   Case 6:18-cr-06034-DGL-MWP Document 4 Filed 12/21/17 Page 2 of 24




Plaintiff
USA                                                 represented   by Burton  T. Ryan , Jr.
                                                                     United States Attomeys Offlce
                                                                     610 Federal Plaza
                                                                                 NY 11722
                                                                     Central Islip,
                                                                     63r-7ts-7843
                                                                     Fax: 631-715-7922
                                                                     Email : burton.ryan@usdoj. gov
                                                                    LEAD ATTORNEY
                                                                    ATTORNEYTO BE NOTICED
                                                                    Designation : Government Attorney


Date Filed         # Page    Docket Text

 t2120120t7                  Arrest (Rule 40) of Thomas Traficante (McMorrow, Karen) (Entered:
                             t2l2U20t7)
 1.2120t20r7   L        4 RULE 40 AFFIDAVIT by USA as to Thomas Traficante by Affiant BARRY
                            COUCH (McMorrow, Karen) (Entered: l2l 21 12017)

 tzt20t20t7    z            cJA23 Financial Affidavit by Thomas Traficante (McMorrow, Karen) (Entered:
                             t2t2U2017)

 t2120t2017                 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Thomas
                            Traficante Randi L. Chavis for Thomas Traficante appointed.. Ordered by
                            Magistrate Judge Gary R. Brown on 1212012017. (McMorrow, Karen) (Entered:
                            t2l2U20t7)
tzt20t2017     1       23 WAIVER of Rule 5(c)(3) Hearing by Thomas Traficante (McMorrow, Karen)
                            (Entered: l2l2Ll20l7)

12t20t20t7                  Minute Entry forproceedings held before Magistrate Judge Gary R.
                            Brown:Arraignment and Initial Appearance in Rule 5(c)(3) proceedings as to
                            Thomas Traficante held on 1212012017. APPEARANCES: Defendant present in
                            custody with Randi Chavis (Federal Defenders) and AUSA Burton Ryan.
                            Removal affidavit swom to in open court. Defendant informed of his rights.
                            Defendant waives Identification hearing and preliminary hearing. Govemment
                            moves for the usMS to transport defendant to the USDC-WDNY. Defendant
                            offers a bail package and defendant's parents are present to sign a bond. The
                            court enters a commitment order for the limited purpose of defendant appearing
                            in the Westem District of New York. Medical order executed. Defendant remains
                            in USMS custody. (FTR Log #3:28-3:46;3:48-3:50.) (McMorrow, Karen)
                            (Entered: l2l2ll20l7)

r2t20t2017                  (court only) ***Terminated defendant Thomas Traficante, pending deadlines,
                            and motions., ***case Terminated as to Thomas Traficante (McMorrow, Karen)
                            (Entered: L2/2112017)

12/20t20t7     !      24    COMMITMENT To ANOTHER DISTRICT as to Thomas Traficanre.
                            Defendant committed to District of westem District of New york.. ordered
                                                                                                     by
                            Magistrate Judge Gary R. Brown on 12/2012017. (McMorrow, Karen) (Entered:
                            12t21/2017)



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12120120t7   5   Medical Evaluation Order as to Thomas Traficante re 4 Commitment to Another
                 District. Ordered by Magistrate Judge Gary R. Brown on 1212012017.
                 (McMorrow, Karen) (Entered: l2l2ll20l7)




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BTR
F. #2 0 17R0
                                                           ,,J,[fffi*,HEro,,
UNITED STATES DISTRICT COURT                               *   DECZ0ZAfi
                                                                             *
EASTERN DISTRICT OF NEW YORK
                                                           LONG ,SLAND
                                           -x                          OFFICE

 UNITED STATES OF AMERICA                        REMOVAL TO THE
                                                 WESTERN DISTRICT
         - against                               OF NEW YORK

 THOMAS TRAFICANTE,                              M. No.
                                                          .f? j'f'
                  Defendant.
                                                M'H                       *,-
                                    -ra,   -'
,ortr*-rrrr*t", or-*r*-"o**,
               BARRY   W. COUCH, being duly sworn, deposes and says
Ehat he is a Special Agent with t.he Federal Bureau of
Investigations ("FBf"), duly appointed according to law             and
acting as such.
               upon information and belief,      on wednesday, December
20, 20L7, the defendant        rHoMAs rRAFrcArvrE("TRAFrczu{TE"), was

arrest.ed at his home in seaford, New york, based. on a federal
arrest warrant issued on December 19, zoLT arising from charges
filed in t.he western District of New york. unit,ed st,ates w.
THOMAS   TRAFICANTE, 17 MJ 4L59 (WDNY).         A copy of that warranE
and underlying complaint issued by senior united states
MagistraLe ,rudge Marian w. payson for the arrest of t.he
defendant is attached-
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                                                                               a


              l-.   I am familiar with    THOMAS TRAFICANTE      from his    New

York state Department of Motor Vehicle            (NysDMV)    photograph.     on
Wednesday, December 20, 2OL"l, I and other agents arresLed. the

defendant at. his home in connection with the execution of a search
warrant and the attached arrest warrant.
              2.     Once arrested the defendant was compared to
identificaEion      papers seized, including his driver, s ricense,
whj-ch identified     him as   THOMAS   TRAFICAI{TE. I also compared the
arrest.ed person with t.he prior           NYSDMV   photograph of      THoMAs

TRAFTCANTE     and pedigree information provi-ded by him for the            usMS

and Pre-Trial services, in which he admit.ted his identit.y. Based
on aII of these facts, I have concluded the individual arrested is
the   same   person sought. in the arrest warrant.
               WHEREFORE   your deponent respectfurry requests t,hat the
defendant    THOMAS TRAFfCANTE    be removed to the Western District          of
New   York so t.hat he may be deart with according to raw.



                                           W.   COUCH
                                    Special Agent,      FBI
Sworn Eo before me this
,rJ a"y of December, 2OL7

TYE HONORABLE GARY R. BROWN
UNITED STATES MAGISTRATE .JUDGE
EASTERN DISTRICT OF NEW YORK
             Case 6:18-cr-06034-DGL-MWP Document 4 Filed 12/21/17 Page 6 of 24
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 AG 442 (Rev. 01/09)   Arest Wanant


                                      {-Imited States District Counr
                                                               for the
                                               W'esteru District of New            york
                                United States of America

                                            Y.
                                                                                              Case    No. t7-MI-                     L//fq
                               THOMAS TRAFICANTE


                                                      AXREST'WARRANT
To:       Any authorizedlaw enforcement officer
          YOU AR-E COMMANDED to arrest and bring before                   a   United States magistrate judge without unnecessary

delay THOMAS           TRAFICANTE, who is accused of an offense or violationbased on the following document filed
with the Court:

 D Indictment E              Superseding Indictment       E Information E             Superseding       Information I                        Complaint

 n   Probation Violation    Petition   E   Supervised Release Violation   Petition    !    Violation      Notice E                    Order of the Court

This offense is briefly described as follows:

probable cause to believe that THOMAS TRAFICANTE, did knowingly with the intent to kilt, injure,
harass, intimidate, or place under surveiliance with intent to kill, injure, harass, or intimidate another
person, used the mail, any interactive computer service or electronic communication service or electronic
communication system of interstate commerce, or any other facility of interstate or foreign cornmerce to
engage in a course of conduct that placed that person in reasonable fear of death or serious-bodily injury or
caused, attempted to cause, or would be reasonably expected to have caused substantial emotional i.irt
to a person, in violation of Title 18, United States Code, Section 2261(A); did knowingiy uansmit"ss       in
interstate or foreign cornmerce any communication containing any threat to injure the persoi tf another, in
violation of Title 18, United States Code, Section S75(c); and did possess with intent to distribute and
distibuted cocaine, a Schedule II confrolled substance in violation ofTifle 2l,IJnitedStates Code, Section
841(a).

Date:     December 19 .2017                                             (Ycric^    ,,i7*rorn
                                                                                                Issuing oficer   s   signarure

City and State: Rochester. New York                                     MARIANW. PAYSON
                                                                        Uuited States Maeistrate Judse
                                                                                                Printed name and Title

                                                              Return

          This warrant was received on (date)                       ,   and the person was arrestedon (date)
at (city and state)

Date:
                                                                                                  A res t i ttg oftce r's   s   igmtil rc


                                                                                          Printed name and title




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 AO 91 (Rev. 0?09) Criminal Comptaint




                [-Imf,ted Staues Df,s'fnflet Court
                                                         for the
                                             -W.ester:rDistrict
                                                                  of New York


                          United States of America


                                                                                                     ry 'C//fE
                                        v.                                      case No.       ,r-
                        THOMAS TRAFICANTE,

                                                   Defmdant



                                               CRIMINAL COMPLAINT

          I, BARRY W. COUCH, the      complainant in this case, state that the following is true to the best of my
knowledge andbelief that in ttre Western District of New York, the defendant violated offlenses described as follows:

        Beginning in or about October 2017 through December 201,7, n the Westem District of New York
and elsewhere, the defendant, THOMAS TRAFICAI{TE, did knowingly with the intent to kill, u5ure,
harass, intimidate, or place under surveillance with intent to kill, injure, harass, or intimidate another
person, used the mail, any interactive computer service or elecffonic communication service or electronic
communication system of interstate commerce, or any other facility of interstate or foreign commerce to
engage in a course of conduct that placed that person in reasonable fear of death or serious bodily injury or
caused, attempted to cause, or would be reasonably expected to have caused substantial emotional distress
to a person, in violation of Title 18, United States Code, Section 226t(A); did knowingly transmit in
interstate or foreign commerce any communication containing any threat to injure the person of another, in
violation of Title 18, United States Code, Section 875(c); and did possess with intent to distribute and
distributed cocaine, a Schedule II controlled substance in violation of Title 21, United States Code, Section
841(a).

sEE   ATTACImD ATryIDAVTT OF SPECTAL AGENT BARRY W. COUCH, FBr.
          This Criminal Complaint is based on these facts:

          tr   Continued on the attached sheet.

                                                                                  Complainant's      s   ignature


                                                                  sA BARRY W. COUCH            (FBr\ _                  _
                                                                                  Printed natne and title
Sworn to'before me and signed in my presence.

Date:     December     l{.2017                                          tll^'*tR^.t-
                                                                                  lt   dgrk signattre

                                                                  HONORABLE MARIAN W. PAYSON
City and State: -Rochester. New York                              I"INITED STATES MAGISTRAAE JUDGE                  .
                                                                                Printed name and title
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                                                                                /?-/v9'q/f,i
               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT



STATE OF NEW YORK )
COUNTY OF MONROE )                     ss:
CITY OF ROCIIESTER )




       I, Barry W. Couch,      having been first duly swom, do hereby depose and state             as

follows:



       1.      I am a Special Agent with the Federal Bureau of Investigation, and have          been

so for approximately nine years.          I   am currently assigned to investigations involving

computer related crimes, as well as ottrer criminal investigations.



       2.      This affidavit is submitted for the limited pu{pose of establishing probable

cause to believe that   THOMAS TRAFICANTE, bom xxlxx/1994, did knowingly with the

intent to kill, injure, harass, intimidate, or place under surveillance with intent to kill, injure,

harass, or intimidate another person, used the mail, any interactive computer service or

electronic communication service          or   electronic communication system        of   interstate

cortmerce, or any other facility of interstate or foreign cofilmerce to engage in a course of

conduct that placed that person      in   reasonable fear of death or serious bodily injury or

caused, attempted to cause, or would be reasonably expected to have caused substantial

emotional distress to a person, in violation of Tifle 18, United States Code, Section 2261(lt);

did knowingly transmit in interstate or foreign commerce any communication containing

any tfueat to injure the person of another, in violation of Title 18, United States Code,




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Section 875(c); and did possess       with intent to distribute and distibuted cocaine, a Schedule

II controlled    substance in violation of Title 2l,lJnitedStates Code, Section Sal(a).



        3-        The information contained         in this affidavit is based upon my personal
knowledge and observation, my training and experience, conversations with other law

enforcement offi.cers and witnesses, and the review of documents and records. Because this

affi.davit is being submitted for the limited purpose of securing a criminal complaint,       I   have

not included every fact known to me conceming this investigation. I have set forth only the

facts that   I believe   are necessary to establish probable cause that   THOMAS TRAFICANTE

did knowingly violate Title 18, United States Code, Sections 2261(A) and 875(c).



       4.        On October 31,2017, a certainuniversity in the Westem District of New York

received an anonymous complaint from someone using the email account "anonymous

(universiry name)@protonmail.com". The complainant stated he was aware that a certain

student   UICTIIv| at the university          was purchasing illegal drugs believed to be cocaine

through the intemet and having them shipped soon               to the VICTIM to the VICTIM's
university mail    box.     The university was on alert for a possible shipment of illegal drugs to

the VICTIM's mail          box. On November 2, 2017, university           staff observed a package

delivered to the VICTIM's mail box and alerted the university police. University police and

the local County Sheriffs Office inspected the package, delivered through the United States

Postal Sewice, and determined            it   contained 1.4 grams    of cocaine. University   police

interviewed the     VICTM and         she denied knowledge of the cocaine being mailed. With

consent from the     VICTIM, university police       searched the   VICTIM's residential room     and




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'found no evidence of cocaine or cocaine paraphernalta.
                                                        When questioned, the VICTIM

stated she had recently broken up with her boyfriend, THOMAS           TRAFICANTE, and the
break-up was       not amicable. The VICTIM stated TRAFICANTE had hacked her social
media accounts in the past and was controlling. The VICTIM said she had changed all her

passwords to her online accounts because of fear of retribution from       TRAFICANTE. The

VICTIM stated TRAFICANTE was the only person other than her family members that

knew what her university mailing address was, as he had sent her multiple boxes of flowers

and small giffs.




         5.    The VICTIM explained how she had met TRAFICANTE on an online dating

apptcation in May of 2017. She said TRJUTICANITE lived in Seaford, New York, which is

close to the town the   VICTIM   resides at   with her family when not attending the university.

The VICTIM dated TRAFICANTE throughout the Summer months, and stated in July he

took her to a shooting rarrge, as he has a rifle. The VICTIM said that TRAFICANTE had

shared   with her that he had done   some bad things     in order to get even with people. The

VICTIM provided a copy of a texting conversation between herself and TRAFICANTE

while they were dating where TRAFICANTE confided in the VICTIM and said he had

posted someone's information on a prostitution site and that person received many phone

calls and texts from random males looking for a "hooker".      TRAFICANTE follows up in the

texting conversation with "Welllllll    it won't   happen UNLESS you do some shit         ftat I
strongly disagree with And you'd probably be harder to manipulate than most people but         it

probably wouldn't be TOO difficu1t.", soon followed by, "Well you wouldn't be able to tel1




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if I was manipulating you That's the point of manipulation It's secretly getfing            someone to

do something you want them to do".




       6.     The texting conversation provided by the victim also had TRAFICANTE

confiding to the VICTIM he had used drugs stating, "To me, acid helped pull me out of the

worst time of my like emotionally. After it helped,           I kept doing it and it   started doing bad

things to me. So   I   stopped.   It   can be good, it can be bad life* Yeah I'm way different after

doing different psychedelic drugs.", soon followed by,             "I explored many different     drugs,


mostly in search of happiness. Didn't find           it   anywhere. Got myself to the edge of being

addicted to cocaine. Definitely don't wanna go back and do that Cocaine "hangove6"

(AKA withdrawals) come with the WORST depression you've ever felt in your entire life"'



       7.     The WCTIM stated that at the end of July 2017, she noticed her Snapchat

(Intemet based application) was being logged out. She said Snapchat only works on one

device at a time, so     if   someone logs into her account on another phone,            it logs out   the

account on her phone. The VICTIM said at the beginning of August 2017, she was texting

TRAFICANTE and he was "ranting" to her about his ideas and opinions of birth contol.

The   VICTM   said she did not agree with what he was saying, screenshotted some of his text

                                to her four best friends on GroupMe (an intemet based             phone
messages, and sent them

application allowing messaging to a group) .Later that evening, TRAFICANTE texted her,
,,6{CTIM's name) ya know I've been thinking, and don't take this the wrong way:                based on


how I know you are so far, I have an unbelievably strong feeling that you were either talking

behind my back or sending screenshots (or both) to your friends during our discussion




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yesterday.     I'm concluding this      based   off of the fact that you've done this to other people
(sending screenshots to me), and the fact that you were clearly bothered by me yesterday.,,

The WCTIM stated that near the end of August 2A77, she got a message on her phone

saying there was suspicious activity from Los Angeles. She said she took a screen shot of the

message, sent       it to TRAFICANTE, and asked him if                  he knew anything about      it.   The

VICTIM provided the text        messages where she       told TRAFICANTE someone tried signing

into one of her accounts from Los Angeles. TRAITICAIITE responded, "Hahahahaha

GOOD! Remember when you said you wanted me to test you and try to hack into your

account? Like      in early July!?* I didn't forget So I figured I have extra time rn, might        as    well

test her You passed!" The        VICTIM responded, "You're not in Los Angeles", to which
TRr{ITICANITE responded,           "I   used    a VPN". The VICTIM said at the beginning of
September 2017 , she had notes on her cell phone that listed guys she had kissed. In a phone

conversation with TRAFICANTE, he brought the list up to the VICTIM and told her some

of the guys on the list, saying he guessed them. The VICTIM provided text messages from

later   in   September between herself and TRAFICANTE where                     TRAIIICAIiTE tries to
convince her to give him her email account password, and other messages about stalking her

and gathering data on her.     TRAFICANTE           states, "So   I   assume you'd be upset   if I happened

to gain access to something that belongs to you, coffect? Lmao". The VICTIM soon states,

"I'm not gwing you my passwords". TRAFICANTE responds, "I would be able to get in

without, but youd very clearly know that            I got in", soon followed      by, "I just obsess over

things that    I   get stuck in my head.    I get anxious over it ya know?",          artd ttren, "Alright

pulling the trigger on this", and then, "Pulling the tigger on something means you're going

to go through with it". The VICTIM responds, "What are you going through                             wi11".




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 TRAFICANTE responds, "The severe stalking Or really not stalking but ya know But it was

a   joke obviously", soon followed by, "It's not actually stalking, it'd be 10 min of gathering

simple data..stalking was the wrong word to use. And it's not that          I want to do it, it's the
only way     I know of to setfle my mind so I know firsthand what is and is not the truth."
TRAFICANTE soon states that when he is not able to prove something it causes "friction"

in his brain. TRAITICANITE then states, "When I'get this "friction" the only way to fix it,

really, is to be able to prove or disprove whatever it is", soon followed by, "Basically, not

super hard.,   I could prob get into your email without knowing your password (but you'd
have to change    it afterwards bc it   requires me to change   it in ttre first place). Then, all I'd
have to look for are emails from like venom or like WhatsApp or groupme or Facebook or

literally anything that would prove or disprove my theory.         Wiftin   10 min max my mind

wouldbe settled lo1. However, I understand why that is a no-no and why you wouldn't want

me to do that. It's an invasion of privaey and it is what it is". The VICTIM said in October

2017,   TRAFICANTE admitted to hacking in the past where he            states   in a text message   she

provided, "Maybe     I   shouldn't have told you that    I   used to hack and still have some

knowledge on    it...I did it for money (and a few favors that I can recall). " Later in October,
the VICTIM said TRAFICANTE screenshot her physical location, sent                     it to her, and
questioned where she was.




        8.      The VICTIM stated that on October 26, 2A17, she broke up with
TRAFICANTE, and on October 30, 2077, TRAFICANTE tried to get back together with

the VICTIM but she refused. The VICTIM provided copies of the text messages between

herself and TRAFICANTE that reflect this.         At one point, TRAFICANTE            states,   "if you




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wind up dropping out, changing to an easier major that you can dealwith, or transferring

somewhere closer-would you consider?" The VICTIM responds, "Yes sure But               I'm not
doing that But sure". TRAFICANTE responds with, "You wouldn't? What happens if you

have no choice?"




       9.     The VICTIM stated that on October 31, 2017, TRAFICANTE texted (the

VICTIM provided a copy of the text message), "My mom just woke me up bc she was in my

room snooping around (bc she's concerned about me i guess) and she found my BB gun and

FLIPPED because she thought it was a realgun and I guess thought I was gonna try to kill

myself (even though she lorows about my actual real gun)".



       10.    The VICTIM said on November 1,2017, she was logged out of her Snapchat

account. She asked her roommate        to   see where Snapchat showed her being physically

located. The roommate checked and        it   showed the VICTIM as being    in Wantagh Long
Island at a Starbucks. The VICTIM's roommate confirmed              to university police   this

occurrence and stated the   VICTIM was physically sitting next to her there at their university

residence   at the time. The VICTIM said she was aware, due to them dating, of
TRAFICANTE always going to that Starbucks. The VICTIM provided the                   Snapchat

location screenshots. The VICTIM confronted TRAFICANTE over text messaging and told

him to stop and that she did not want to talk to him anymore. The VICTIM then told

TRAFICANTE she was blocking him on all her accounts except text and if he continued

talking to her, she wouldblockhis number from textingtoo.




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         11.    On November 8,2077, university staffobserved the VICTIM received another

 suspicious looking package   in the mail and notified university police. University police and

the New York State Police inspected the package and determined          it   contained the drug

MDMA, a methamphetamine. The VICTIM stated she was not expecting a package and

suspected   TRAFICANTE of sending it, that he had sent her that message asking her            if
anything happened at school that would make her come back home if she would date him

again.




         12. On November 10,2017,           the university police were notified by      several

members of the sorority the VICTIM is a member           of of a suspicious text message they
received, that read, "its not safe out there tonight (name of sorority)". The text message

came from phone number 585-376-1093. On November 11,2017, the university police were

notified of another text message sent to the students from the same phone number that read,

"glad you all mostly took my advice last night. but moving       it forward one night   doesn't

make (name of sorority) or their dates any safer.   i   mean no harm, im not the threat, but

harm is coming." University police determined through an open internet lookup that the

phone number appeared to be a "Pinget/Bandwidth.com" phone number, one that was not

a cellular phone number but one generated by an online service. Several of the students

expressed being scared and afraid due to the text messages and that    it was disturbing their
daily lives and studies.
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         13.   On November L6, 2017, the VICTIM reported she believed TRAFICANTE

had posted her contact information on a prostitution website. The   VICTIM explained      since




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 5:35   AM that moming she had received approximately sixty calls, texts and Facetime     calls

from random numbers alt wanting to have sex with her. The VICTIM                      believed

TRAFICANTE was responsible due to what he had told her about doing something similar

to another person in the past. University police located a prostitution advertisement on
Backpage.com listing the VICTIM's contact phone number. That same day, the VICTIM

notified university police of another advertisement for her on companionreviews.com. In      a

subpoena retum, Backpage.com provided the information on the Backpage.com prostitution

advertisement of the VICTIM that the individual posting the advertisement used the email

account   "kfl[CTIM name)exo@protonmail.com".


         L4.   On November 17,2017, another student reported to university police he had a

telephone conversation with the person who had left the threatening texts. The student said

the person seemed to be using a voice changer application. The student reported the person

said he did not necessarily want to do what he was doing, but "his brain was telling him to".

The student said the person told him he had been "wronged" by members in the Greek

community and that he needs revenge. The student reported the person told him he had

divorced parents, deals with anxiety, has a tnrst issue, and has an ex-girlfriend in the Greek

communify. The student said the person told him the person's ex-girlfriend is in the fust

sorority that he threatened. The person claimed to want to inflict mental and emotional

harm. The person told the student he knew he was not acting rationally and that he was

prescribed Xanax. The student said the person talked a lot about his brain. On November

17, 20L7, another student received a text message from the same number that read, "im

excited for the wedding" and "hope you don't wear anything that can stain". On November




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 17, 2017, another student reported communicating with the
                                                           same number the messages were

coming from vja text where the person threatened to do "something,, that
                                                                         corning Saturday,
that his plans were "years in the making" and that he sought out help but his mindset
                                                                                      cannot
be changed.




        15.     On November 18, 2017, another student had a texting conversation with the

person using the suspect phone number. The person stated,        "i   mentioned that a possible

outcome of    my actions could be death. its in the hands of each individual really            to

determine. what    if that means   death by cop? not foliow police orders and getting shot?",

soon followed   by, "my goal is to create the most amount of turmoil and patn within greek

life at (name of school)", ttlen, "there are various peopie among different orgs who have hurt

me. my plan is to hurt them.", then, "the only thing that helps is revenge. or at least the

feeling of satisfaction that   it brings me.", then, "but I break sometimes. this is my worst
break.", *ren, "i have caused property damage. mostly that. directed at the people who i feel

broke me", and then,   "i certainly   have feelings that make me want to cause harm to myself

or others."




       16.      On November 19,2017, the VICTIM gave a statement to university police

that she has told her ex-boyfriend, TRAFICANTE, several times to not contact                  her

anymore, but that he has continued to text her on November 4u, November               llft,   and

November 16ft and she did not respond. The VICTIM stated she was going home to the

Long Island area and she was scared TRr{ITICANITE would try to contact her.



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        17.     On November 20, 2077, the university police were notified of another text

 message sent   from the same suspect number that read,        "i gave you a present tonight along
 with a few others. some whose numbers i dont even have. soon will be the ones who live

 closer to the school. hope you are enjoying your break   as   much   as   i am."



        18.     On November 20, 2017, university staff observed the VICTIM received
another suspicious looking package in the mail and notifi.ed university police. University

police and the New York State Police inspected the package and determined            it   contained

cocaine.




       79.      On November 20,2017,    thLe   VICTIM's stepfather reported to Nassau County

Police Department that he observed the driver's side front window of the VICTIM's vehicle

being broken. The VICTIM's vehicle was at her parents' home because the VICTIM's

mother had flown to see the VICTIM at the university due to the stalking activity the

VICTIM was experiencing, and the mother had chosen to drive the VICTIM's vehicle back

to their family residence rather than fly. The VICTIM's stepfather then observed a hole in

the front window of the family residence consistent with that of being caused by a BB gun

and a small gold BB gun pellet resting on the windowsill. He had last seen his vehicle the

previous evening at approximately 8:00 PM without any damage, and then observed the

damage that moming     at approximately   7:15   AM. The VICTIM's stepfather made Nassau
County Police awa(e of the situation occurring with the VICTIM at the university. Later

that eveninS, the VICTIM's stepfather reported to Nassau County Police he observed video

surveillance footage from a neighbor's residence that showed a small sedan drive by his

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residence     at 3:35 AM that moming and that the vehicle fit the description of
TRAFICANTE's vehicle. Nassau County Police observed the video and did agree that the

vehicle   fit the description of TRAFICANTE's vehicle, a 2016 Black Mazda 3 four-door
sedan.




         20.    On November 21,2017, Nassau County Police interviewed TF,AFICANTE

at his 3911 Arthur Ave   N, Seaford, New York       11783 residence and he denied involvement

in the broken windows at the YICTIM's residence and the threatening messages through

any websites. TRAFICANTE shared with the police he was seeing a therapist due to ttre

break up with the VICTIM. Nassau County police advised TRAFICANTE to not contact

the   VICTIM in any way.



         21.   On November 25, 2017 , the student referenced above rn puagraph 16 above

reported to university police he received the following text message from the same suspect

number: "notify who ever you need to. i am done. i took time to think about everything you

said to me. you helped. thank you. i hope you had a great thanksgrving.         i am thankful for
you and your help. i am sorry to you and to every one affected. i will live with this guilt for a

while but im moving forward and bettering myself. i hope to cross paths with you at school

some time. if not..have a wonderful   life".



      , 22.    On December 2,2017, the VICTIM, and several other students, received              a

text message from the same suspect number that stated, "youre      al7   aazy if you ttrink im not



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 still out there". The VICTIM received this message on a new phone of hers with a newly

 established phone number.




        23.     On Decernber 2, 2017, university police were notified of a voicemail received

by the sorority members that stated, "I'm in the house" . Local police searched the sorority

membets' house and reported the sorority members were extremely concerned and scared

for their safety.




        24.     On December 5, 2Al7 , some of the students reported to university police they

believed they found the connection between the different members that had received ttre text

messages.   They reported the sorority uses the "Group Me" application to ensure all

members have a safe ride home on the weekends.         It was realiz.ed that all of the girls that had

posted their numbers to this application had received the text messages. They said someone

would have to be able to log in to the application account           to gan   access   to the   posted

numbers.




       25.      On December 5,2017, the     VICTM reported to university police        she had been

experiencing suSpicious activity on a website she uses to take chemistry tests. She noticed

that quizzes she needed to take had been submitted as completed before she had taken them

resulting in zeros. She originally thought   it   was a problem with the website but ttren the

email address used to log in was changed.




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        26.     On December      l,   2017, university police received a subpoena response from

 Pinger regardng available data on the 585-376-1093 number. Pinger revealed the number

 was established on November 10, 2017, from IP address 96.250-16.765. Pinger provided          Ip
 logs showing the 96.250.16.165IP address was also utilized by the number on November

 ll,2017 . The IP logs also revealed the number utilized another IP address on November        11,

 2077, that according to the American Registry for Internet Numbers, appears to resolve back

to a certain Starbucks in Melville, New York. Melville, New York, is approximately             15

miles from Seaford, New York.




       27.     On December 12, 2017, uruversity police received a subpoena response from

Verizon revealing that     IP   address 96.250.16.165 was assigned     to 3911 Arthur Ave N
Seaford, New    York 11783 on November 10, 2A17, at the time the 585-376-1093 Pinger
number was created.



       28.     On December 13, 2017, the VICTIM's mother reported to the university
poiice that the VICTIM had received a package at their family residence. The package

contained a book titled,   "I AM WATCHING YOU".             The book apparently is a recently

released fiction novel that has stalking and the sending of threatening letters in its storyline.

The book was shipped from Amazon and was purchased through the VICTIM's Amazon

account she has not used   in several years.



       29.    On December 15, 2017, the VICTIM received a mailed package at                   the

university containing 3.5 grams of marijuana.

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        Based upon the foregoing, your affiant respectfi.rlly submits that there is probable

 cause to believe that   THOMAS TRAFICANTE has violated Title 18, United States Code,

sections 2261(A) and 875(c); and   ritle 2l,lJnited,states code, section g4l(a).




                                                        Y W. COUCH, Special Agent
                                                  Federal Bureau of Investigation



Sworn to before me this
 11 dayofDecember2ATT.

 Wtt?'lfir       rgr--
HON. MARIAN W. PAYSON
United States Magistrate Judge




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 AO 466.4' (Rev.   l2l09) Waivcr of Rulc 5 & 5.1 Hearings (Complaint or Indictncnt)


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                    United States of America
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                                                      WATVER OF RULE 5 & 5.1 EEARINGS
                                                           (Complaint or Indictment)

          I understand that I have been charged in another                   diskic!   the (name of other    court)    LtJ-U*r*rr-

          I have been inforrred ofthe charges and ofmy rights to:
          (1)          retain counsel or requestthe assigrunent ofcounsel                 ifl    am unable to retain counsel;
          (2)          an identity hearing to determine whether I am the person nased in the charges;

          (3)          production of the wa:ran! a certified copy of the warran! or a reliable electronic oopy either;
                                                                                                              of
          (4)          a pretiminary
                                         b:u.qg       *i4,r  14 days of my f'st appearance if I am in custody and,2rdavs otherwise
                       unless I am.rn(uctecl
                       been committed;            -
                                                       to determtne whether there is probable cause to believe that an offense has                   -
          (5)         a hearing on any motion by the govemment                   for detention;
          (6)         request transfer of the proceedings to this             distict under Fed. R. Crim. p. 20, to plead guilty.
          I agree to waive my righ(s) to:

         {             an identity hearing and production of the war:ant.

         {             a preliminary hearing.

         D             a detention hearing.

         0             an identity hearing, production.of the warrant, and any preliminary or detention hearing to which
                                                                                                                               I may
                       be entitled in this distict. I request ttrat those hearings be held in the prosecuting distric!
                                                                                                                       at a time sei
                      by that court.

        I consent to tre issuance of an order requiring my appearance in the                                                 where the charges are
pending again5l       ms.                                                                           /

Date:   l)->0               ^ l7



                                                                                               Signature of defendant's attorney




                                                                                          Printed name of defendant's attorney


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                  United States of      America                    )
                                 v.)
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                                                                   )
                                                                   )          Charging District,s
                                                                   )          Case No.

                                              COMIVIITMEI{T TO AI\IOTHER DISTRTCT

          The defendant has been ordered to appear in        the |        ,rr^_           Disrict of
                                                                   '
                                                                                                                age:



          The   defendant: O will retain an attorney.
                                 0   is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT Is ORDERED: The United States marshal must transport the defendan! together with a copy of tlis order,
to the charging district and deliver the defendant to the United States marshal for that
                                                                                         district, or to another ofificer
authorized to receive the defendant. The marshal or officer in the charging district should
                                                                                                immediately notif the
United States attorney and the clerk of court for that district of the defendirt's arrival so that further p.o"""iing,
                                                                                                                       *uy
be promptly soheduled. The clerk of this district must promptly transmit the papers
                                                                                        and any bail to the charginidistrict.



Date:




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